UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

No. 4/8 CRALT

v.
BRIAN MELLOTT,
Defendant
INDICTMENT
THE GRAND J URY CHARGES:
COUNT ONE

Conspiracy to Defraud the United States and to
Violate the Clean Air Act, 18 U.S.C. § 371

I. Introduction
At times material to the Indictment:

Relevant Individuals and Entities

1. Rockwater Northeast LLC (Rockwater) was a company
headquartered in Canonsburg, Pennsylvania, with facilities in the
‘Middle District of Pennsylvania and the Western District of
Pennsylvania. Rockwater provided services to the hydraulic fracturing
industry in Pennsylvania, including the provision and transportation of

water and wastewater. Rockwater was a downstream subsidiary of

Rockwater Energy Solutions, Inc., a Houston, Texas-based company.

2. BRIAN MELLOTT was an Inventory & Logistics Analyst at
the Rockwater facility located in Linden, Pennsylvania, within the
Middle District of Pennsylvania.

3. The Environmental Protection Agency (EPA) was an agency
of the United States responsible for enforcing and administering the
Clean Air Act.

4. The Federal Motor Carrier Safety Administration (FMCSA)
was an agency of the United States Department of Transportation
(USDOT) responsible for regulating the safe and efficient travel of
commercial motor vehicles. Companies that maintained commercial
motor vehicles to transport passengers or haul cargo in interstate
commerce were required toregister with the FMCSA and obtain a
USDOT number that served as a unique identifier.

5. Rockwater, when it was formerly known as Red Oak Water
Transfer Northeast LLC, registered with FMCSA as an interstate

carrier of oil field equipment and was assigned USDOT number

1893956.

Emissions Systems and Regulations

6. The purpose of the Clean Air Act was to protect and enhance
the quality of the nation’s air resources, thus promoting public health
and welfare by, among other things, reducing the emission of
pollutants, such as nitrogen oxides, particulate matter, hydrocarbons,
and carbon monoxide, from motor vehicles.

7. The Clean Air Act and its implementing regulations
~ established standards limiting the emission of pollutants from various
classes of motor vehicle engines, including heavy-duty diesel engines.

8. To meet emissions standards, manufacturers of vehicles
bearing heavy-duty diesel engines installed a variety of hardware
emissions control devices, including exhaust gas recirculation systems,
selective catalytic reduction systems, and diesel particulate filters.
After verifying that the emissions control devices conformed to
emissions standards, the EPA issued Certificates of Conformity to
_ vehicle manufacturers specific to each annual vehicle class.

9. To enforce compliance with emissions standards, the EPA,

pursuant to its regulatory authority, created regulations requiring
manufacturers to install on-board diagnostic systems (OBDs) on

vehicles. OBDs monitored emissions-related sensors and the hardware
emissions control devices of heavy-duty diesel engine systems and
components.

10. OBDs alerted vehicle cperators, through a malfunction
indicator light, when a component of the emissions-monitoring system
deteriorated or malfunctioned. When the malfunction was left
unaddressed and the vehicle’s emissions exceeded certain emissions
level thresholds, the OBD forced the vehicle’s engine to shut down, or
limited the vehicle to a maximum speed of as low as five miles per hour;
an effect commonly referred to as “limp mode” or “power reduced mode.”

11. Repairs for malfunctioning or deteriorating emissions
systems on diesel vehicles in “limp mode” ordinarily cost between
approximately $1,000 and $10,000. Repairs ordinarily took several
days or weeks to complete, during which time the vehicles were
inoperable.

12. The Clean Air Act prohibited any person from tampering

with or rendering inaccurate vehicle emissions monitoring devices and
methods, including OBDs and hardware emissions control devices.

13. The FMCSA, pursuant to its regulatory authority, required
commercial motor vehicles to pass annual inspections. The FMCSA
delegated the administration of those inspections to certain states,
including Pennsylvania, whose inspection standards met minimum
federal standards.

14. In Pennsylvania, the Pennsylvania Department of
Transportation (PennDOT) oversaw motor vehicle safety inspection
programs. PennDOT, pursuant to its regulatory authority, required.
commercial diesel-powered motor vehicles to pass a safety inspection,
and prohibited any device or modification that bypassed exhaust system
emissions components. Pennsylvania prohibited the intentional
modification or alteration of a factory-installed smoke control system on
diesel-powered vehicles and their fuel systems that limited the system’s
ability to control smoke. Pennsylvania also prohibited removal of the
smoke control system, except for repair or installation of a proper
replacement. Pennsylvania further prohibited disabling, altering, and

changing an emission control system of a vehicle, requiring all original
emissions control components to be present and functioning.

15. PennDOT required annual vehicle safety inspections to
ensure that vehicles were maintained for safe operation. The safety
inspection procedure included inspection and testing of a variety of
vehicle components, including hardware emissions systems. Certified
vehicle safety inspectors performed vehicle safety inspections at official
PennDOT inspection stations. Certified vehicle safety inspectors
affixed a certificate to vehicles that passed inspection, to demonstrate
compliance with PennDOT inspection standards, and reported the
inspection results to PennDOT.

Emissions System Tampering Devices

16. Hardware emissions control devices and OBDs could be
disabled on commercial vehicles bearing heavy-duty diesel engines,
using a variety of aftermarket devices. Disabling the emissions control
systems defeated their ability to limit pollutant gases and particulate
matter into the atmosphere.

17. One method used to disable hardware emissions control

devices was to remove the portion of the vehicle’s exhaust system that:

contain the emission control devices and replace it with a section of
exhaust tubing or a “straight pipe” that did not limit emissions.

18. Another, generally less expensive method used to disable
hardware emissions control devices was to remove certain components,
such as the selective catalytic reduction system and diesel particulate
filter, by hollowing out their casing in the vehicle’s exhaust pipe, and
then re-welding the entry point to create the false appearance that the
hardware emissions control devices remained installed.

19. OBDs detected disabling modifications to the hardware
emissions control devices on vehicles. Thus, any modifications to the
hardware emissions control devices necessarily included a
contemporaneous disabling of the OBD, to avoid the vehicle going into
“limp mode.”

20. The devices used to disable OBDs commonly were referred to
as “defeat devices,” “DPF defeats,” “delete devices,” “tuners,”

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“performance tuners,” “conversion kits,” and “programmers,”
(collectively referred to as “defeat devices”). Several manufacturers

offered a variety of defeat devices.
21. One type of defeat device was an apparatus that plugged
into a vehicle’s data link connector to “tune” the OBD. Those defeat
devices, when plugged in, allowed the vehicle operator to activate at
will the software modifications that manipulated the OBD.

22. Another type of defeat device was a software program that
reprogrammed, or “flashed,” the vehicle’s diesel engine computer
module, through use of a computer or electronic device that modified
the OBD after being connected to the vehicle on a single occasion.
Those defeat devices permanently adjusted the diesel engine timing and
other parameters to bypass the OBD.

23. In addition to disabling the OBD, defeat devices also
improved heavy-duty diesel engines’ horsepower, torque, and fuel

efficiency.

-II. Statutory Allegations

24. From on or about August 1, 2013, the exact date being
unknown to the Grand Jury, and continuing thereafter until on or about
March 29, 2016, in the Middle District of Pennsylvania, and elsewhere,
the defendant,

BRIAN MELLOTT,

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knowingly and willfully conspired, combined, confederated, and agreed
with other persons both known and unknown to the Grand J ury, to:

a. defraud the United States by impairing, impeding,
obstructing, and defeating the lawful functions of the federal
government, that is, the EPA’s function of implementing and
enforcing emissions standards for air pollutants for diesel
vehicles under the Clean Air Act, and the FMCSA’s function
of implementing and enforcing annual inspections standards

‘for commercial motor vehicles, by deceitful and dishonest
means, in violation of Title 18, United States Code, Section
371; and

b. violate the Clean Air Act by tampering with and rendering
inaccurate monitoring devices and methods required
pursuant to the Clean Air Act to be maintained and followed,

in violation of Title 42, United States Code, Section

7418(c)(2)(C).

Manner and Means

The objects of the conspiracy were accomplished, in part, by the
following manner and means:

25. The co-conspirators agreed to reduce the repair costs and
maintenance down time triggered by malfunctioning or deteriorating
emissions systems on Rockwater commercial motor vehicles containing
heavy-duty diesel engines.

26. The co-conspirators replaced and caused to be replaced
hardware emissions control devices on Rockwater commercial motor
vehicles containing heavy-duty diesel engines with exhaust tubing or
“straight pipes.”

27. The co-conspirators removed and caused to be removed
hardware emissions control devices on Rockwater commercial motor
vehicles containing heavy-duty diesel engines, by extracting the
emissions control devices from their compartments, and then re-welding
the entry point to create the false appearance that the hardware

emissions control devices remained installed.

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28. The co-conspirators arranged for Rockwater to purchase
defeat devices from other co-conspirators.
29. The co-conspirators concealed and caused to be concealed the

purchase of the defeat devices in purchase invoices and in Rockwater'’s

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books and records, including by mislabeling the defeat devices as
“complete exhaust systems” and “replace exhaust systems.”

30. The co-conspirators used and caused to be used defeat
devices to disable the OBDs on Rockwater vehicles whose hardware
emissions control devices had been removed.

31. The co-conspirators arranged and caused to be arranged for
Rockwater vehicles with disabled OBDs and hardware emissions
control devices, to undergo annual PennDOT vehicle safety inspections
by other co-conspirators.

32. The co-conspirators issued and caused to be issued
certificates stating that Rockwater vehicles with disabled OBDs and

hardware emissions control devices met PennDOT inspection

standards.

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33. The co-conspirators submitted and caused to be submitted
vehicle safety inspections reports to PennDOT stating that Rockwater
vehicles with disabled OBDs and hardware emissions control devices
had passed safety inspections.

Overt Acts

In furtherance of the conspiracy and to effect the objects of the
conspiracy, the following overt acts, among others, were committed in
the Middle District of Pennsylvania and elsewhere:

34. Between on or about August 1, 2013 and June 30, 2014, the
co-conspirators removed hardware emissions control devices from in
excess of 30 Rockwater commercial motor vehicles containing heavy-
duty diesel engines.

35. Between on or about September 1, 2013 and June 27, 2014,
BRIAN MELLOTT and other co-conspirators arranged for the purchase
of approximately 50 defeat devices and “straight pipes” by Rockwater

from other co-conspirators.

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36. Onor about September 1, 2013, BRIAN MELLOTT approved

‘the purchase of a defeat device in an invoice in which the defeat device

was mislabeled “complete replacement exhaust.”

37. Onor about November 22, 2013, BRIAN MELLOTT
approved the purchase of three defeat devices in an invoice in which the
defeat devices were mislabeled “complete replacement exhaust
systems.”

38. On or about February 11, 2014, BRIAN MELLOTT approved
the purchase of a defeat device in an invoice in which the defeat device
was mislabeled “complete exhaust system.”

39. Between on or about September 1, 2013 and June 30, 2014,
the co-conspirators used defeat devices to disable the OBDs for in excess
of 80 Rockwater vehicles whose hardware emissions control devices had

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been removed.

40. Between on or about September 1, 2013 and March 29, 2016,
BRIAN MELLOTT and other co-conspirators transported Rockwater
vehicles whose hardware emissions control devices had been removed

and whose OBDs had been disabled to other co-conspirators, who

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passed the Rockwater vehicles for annual inspection and reported the

inspections to PennDOT.

All in violation of Title 18, United States Code, Section 371.

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THE GRAND JURY FURTHER CHARGES:

COUNTS TWO THROUGH FOUR
Violation of the Clean Air Act, 42 U.S.C. § 7413(c)(2)(C)

41. The factual allegations of paragraphs 1 through 33 are
incorporated here.

42. Onor about the dates listed below, in the Middle District of
Pennsylvania, and elsewhere, the defendant,

BRIAN MELLOTT,

aiding and abetting others, did knowingly falsify, tamper with, render
inaccurate, and fail to install a monitoring device and method required
to be maintained under the Clean Air Act, that is, the defendant

approved the invoices listed below, with each being a separate count, to

purchase defeat devices that were applied to diesel trucks:

Count Date of Invoice

Invoice
Number

Invoice

Amount

Invoice Description

2 September 1, 2013

255079

$2,248.00

Complete
replacement exhaust
for truck #185 a
2011 Chev 3500

3 November 22, 2013

255118

$6,016.08

Complete
replacement exhaust
systems for three
2011 Chev Trucks

4 February 11, 2014

425135

$2,229.00

Complete exhaust
system for a 2011
Chev Duramax

Date:_2//ULL

All in violation of Title 42, United States Code, Section -

7413(c)(2)(C), and Title 18, United States Code, Section 2.

A TRUE BILL

DAVID J. FREED
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